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MIDDLE DISTRICT 0F FLORIDA " l 4 P;; ~. n

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KATHY HUNTLEY,
Piaimiff, CAsE No.: __ 1 .
L- \3~-@\/¢211 'c)&L-?H ¢- C»., 614
-vs~ “"

NATIONSTAR MORTGAGE LLC,
d/b/a l\/IR. COOPER,

Defendant,

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COMPLAINT AND DEMAND FOR JURY TRIAL

COl\/IES NOW Plaintiff, KATHY HUNTLEY, by and through the undersigned
counsel, and sues Defendant, NATIONSTAR MORTGAGE LLC d/b/a, MR. COOPER,
and in support thereof respectfully alleges violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et .s'eq. (i“TCPA”) and the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.55 el seq. (“FCCPA”).

INTROI)UCTION

l. The TCPA Was enacted to prevent companies like Defendant from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mfm.s' v. Arrow Fz'n. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

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at night; they force the sick and elderly out of bed; they hound us until we Want to rip the
telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the auto-dialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (l lth Cir. 2014).
4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwantea' Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Business/20 l 5/db0527/DOC-
333676Al .pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

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47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l lth Cir. 2014)

8. The alleged violations described herein occurred in Orange County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Orange County, Florida

lO. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

ll. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (lllh Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (llth
Cir. 2014).

13. Defendant is a corporation which was formed in Texas with its principal
place of business located at 8950 Cypress Waters Blvd Coppell, TX, 75019 and which
conducts business in the State of Florida through its registered agent, Corporation Service
Company located at 1201 Hays Street, Tallahassee, Florida, 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)

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16. Defendant called Plaintiff on Plaintiff’s cellular telephone approximately
one hundred (100) times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(l) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an
auto-dialer because of the vast number of calls she received and because When she
answered her telephone she received prerecorded messages from Defendant.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407)***-4104, and was the called party and recipient of Defendant’s calls.

20. Upon receipt of the calls from Defendant, Plaintist caller ID identified
the calls were being initiated from, but not limited to, the following telephone numbers:
(888) 480-2432.

21. On several occasions over the last four (4) years Plaintiff instructed
Defendant’s agent(s) to stop calling her cellular telephone.

22. In or about October of 2016, Plaintiff answered a call from Defendant to

his aforementioned cellular telephone number. Plaintiff spoke to an agent/representative

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of Defendant and informed the agent/representative that the calls to her cellular telephone
were harassing and demanded that they cease calling her cellular telephone.

23. Despite clearly and unequivocally revoking any consent Defendant may
have believed they had to call Plaintiff on her cellular telephone, Defendant continues to
place automated calls to Plaintiff

24. Each subsequent call the Defendant made to Plaintiff’s aforementioned
cellular telephone number was done so without the “express consen ” of the Plaintiff.

25. Each subsequent call the Defendant made to the Plaintiff”s aforementioned
cellular telephone number was knowing and willful.

26. In or about January of 2018, Plaintiff again spoke to an
agent/representative of Defendant and demanded the cessation of callers to her cellular
telephone number. Plaintiff explained to the agent/ representative why her payments had
become late and asked for the date of her payment to be changed. The
agent/representative told Plaintiff the only way to stop the calls and to change the
payment date is if she refinanced her entire loan.

27. Plaintiff’s numerous conversations with Defendant’s
agent(s)/representative(s) wherein she demanded the cessation of calls were in vain as
Defendant continues to bombard her with automated calls unabated.

28. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling several times during one day, and on back to back days, with such

frequency as can be reasonably expected to harass.

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29. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s
cellular telephone in this case.

30. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in
this case, With no way for the consumer, Plaintiff, or Defendant, to remove the number.

31. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff; despite these individuals explaining to Defendant they wish for
the calls to stop.

32. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint

33. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

34. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers

35. Defendant’s corporate policy provided no means for Plaintiff to have her
number removed from Defendant’s call list.

36. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

37. Not a single call placed by Defendant to Plaintiff were placed for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

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38. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

39. From each and every call placed without consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon her right of seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiff`s cellular telephone, Plaintiff suffered the injury of occupation of her cellular
telephone line and cellular telephone by unwelcome calls, making the phone unavailable
for legitimate callers or outgoing calls while the phone was ringing from Defendant’s
calls,

41. From each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
her time. For calls she answered, the time she spent on the call was unnecessary as she
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the telephone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff’s cellular telephone, which are designed to inform the user of important missed
communications

42. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to
Plaintiff`. For calls that Were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

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telephone and deal with missed call notifications and call logs that reflected the unwanted
calls, This also impaired the usefulness of these features of Plaintiff’s cellular telephone,
which are designed to inform the user of important missed communications

43. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of
Plaintiff’ s cellular telephone’s battery power.

44. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone where a voice message was left which occupied space in
Plaintiff’s telephone or network.

45. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,
namely her cellular telephone and her cellular telephone services

46. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,
and aggravation

COUNT I
(Violation of the TCPA)

47. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty
six (46) as if fully set forth herein.

48. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff‘s cellular telephone after Plaintiff

notified Defendant that she wished for the calls to stop.

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49. Defendant repeatedly placed non-emergency telephone calls to Plaintiff s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

_C_CM
(Violation of the FCCPA)

50. Plaintiff fully incorporates and re-alleges paragraphs one (l) through forty
six (46) as if fully set forth herein

51. At all times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

53. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

54. Defendant’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

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triable and judgment against Defendant for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

Respectfully submitted,

/s/ Octavio Gomez

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